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     Telephone: (541) 344-1785
 4
     Counsel for Defendant
 5   TRENT MILLER
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 7
 8                                IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                      )    NO. 1:07-CR-0221 OWW
                                                    )
12                         Plaintiff,               )
                                                    )    STIPULATION TO CONTINUE
13          v.                                      )    MOTIONS HEARING, AND ORDER
                                                    )    THEREON
14   RODOLFO MALLARI PAGSANJAN,                     )
          aka Rudy Pagsanjan                        )
15   MASOUD MIRHADI,                                )    Date: November 17, 2008
          aka Mike Mirhadi, and                     )    Time: 1:30 p.m.
16   TRENT MILLER,                                  )    Judge: Honorable Oliver W. Wanger
                                                    )
17                         Defendants.              )
                                                    )
18
19
20                                                STIPULATION
21          It is hereby stipulated by and between the parties hereto that the hearing on the motions regarding
22   redacted statements of the defendants in the above entitled matter previously set for November 3, 2008, be
23   continued to November 17, 2008, at 1:30 p.m. Counsel shall file any objections to the redacted
24   statements by November 12, 2008. If no objections to the redacted statements are filed by that date, the
25   hearing on November 17, 2008, will be taken off the calendar.
26          The reason for this continuance is to allow counsel for the defendants time for further preparation.
27   The government was to provide the defense with redacted statements of the defendants which it intends to
28   use at trial by October 15, 2008. The government did not provide the statements to defense counsel until
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 1   October 29, 2008. In light of the delay in providing the redacted statements, counsel for the defendant’s
 2   need the addition time to determine whether or not to file objections to those redacted statements.
 3           The parties agree that time shall be excluded pursuant to 18 U.S.C. §§ 3161, subd.(h)(8)(A) and
 4   (B) in that the ends of justice served by the continuance outweigh the best interest of the public and the
 5   defendant in a speedy trial, since the failure to grant such a continuance would deny counsel for the
 6   defendant the reasonable time necessary for effective preparation, taking into account the exercise of due
 7   diligence.
                                                                  McGREGOR W. SCOTT
 8                                                                United States Attorney
 9
10
     DATED: October 29, 2008                               By:    /s/ Marlon Cobar
11                                                                MARLON COBAR
                                                                  Assistant U.S. Attorney
12                                                                Attorney for Plaintiff
13
14
     DATED: October 29, 2008                               By:    /s/ Robert W. Rainwater
15                                                                ROBERT W. RAINWATER
                                                                  Attorney for Defendant
16                                                                TRENT MILLER
17   DATED: October 29, 2008                               By:    /s/ Roger T. Nuttall
                                                                  ROGER T. NUTTALL
18                                                                Attorney for Defendant
                                                                  RUDOLFO MALLARI PAGSANJAN
19
     DATED: October 29, 2008                               By:    /s/ Salvatore Sciandra
20                                                                SALVATORE SCIANDRA
                                                                  Attorney for Defendant
21                                                                MASOUD MIRHADI
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     Stip. to Continue Mtns Hrg and Order                  2
                Case 1:07-cr-00221-AWI Document 36 Filed 10/30/08 Page 3 of 3


 1                                                      ORDER
 2           IT IS SO ORDERED. Time is excluded pursuant to 18 U.S.C. § 3161, subd. (h)(8)(A) and (B).
 3   For the reasons stated above, the court finds that the ends of justice served by the delay outweigh the best
 4   interest of the public and the defendants in a speedy trial.
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 6
 7   IT IS SO ORDERED.
 8   Dated: October 29, 2008                            /s/ Oliver W. Wanger
     emm0d6                                        UNITED STATES DISTRICT JUDGE
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     Stip. to Continue Mtns Hrg and Order                   3
